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                                                                                                                  Rabo AgriFinance

                                                           Rabo AgriFinance
                                                    A member of the Rabobank Group
                                                PO Box 411995 - Saint Louis - MO - 63141
                                           Telephone (314) 317 8000 - Facsimile (877) 655 9514
                                                            www.RaboAg.com

        03/18/2021

        Easterday Farms Produce, Co.
        C/O Mike Hayes
                                                               Obligation No.        5900 - Easterday Farms Produce, Co. 9752




        Dear Client:

        The following statement is the amount required to repay the above loan as of 03/18/2021. Please note that interest
        accrues until funds are received in our National Servicing Center.

                       Principal Balance                         as of 03/18/2021                                      $800,000.00''
                       Interest on Principal                     to 03/18/2021                                           $5,560.87
                       Legal Fees                                                                                        $1,069.07 ✓                      O3.22
                                                                                                                                                              -
                       Interest on Legal Fees                                                                                $8.18
                       Default Interest                                                                                 $25.104.17
                       Total Due                                                                                      (a31,74219)

                       Per Diem for receipt of funds after 03/18/2021 is $292.92. These repayment figures will not be
                       valid after 04/01/2021 or if there are additional payments or advances made on this line of credit.
                       This loan is tied to a monthly rate change.                                                                       "kii      i t r e4t
                                                                                                                                                              tetg
        The documents will be available for delivery following receipt of certified funds. There will be a delay In forwarding                  t ti vrto. 447 Fok y,
        documents for other than certified funds.
                                                                                                                                                   Z5 11.
        Questions regarding the repayment of your loan should be directed to Customer Connect toll free at (855) 722-7766 or
        at CustomerConnect@RaboAg.com.                                                                                       94 4                        3. ler
        Please return your payment with a copy of this letter. To ensure timely delivery of Funds, we suggest wired funds.
        Please contact your Relationship Manager, listed above for instructions. Checks should be mailed to Rabo AgriFinance,                        (7) tp.) I/7S (i 3
        PO Box 790077. St Louis, MO 63179-0077.                                                                                                      5 `1     7

                                                                 Sincerely.
                                                                  .     ,


                                                                 Rabo AgriFinanceC)
                                                                 National Servicing Center




                                                                          ***IMPORTANT**'
            These figures are subject to final verification upon actual receipt of funds by the Note Holder. Note Holder reserves the right la adjust these
         figures and (a) negotiate funds as received and request additional funds, (b) refund excess funds remitted or (c) refuse funds as appropriate to
           the circumstances thereof. These circumstances may be, but are not limited to, an enor in the calculation of the payment amount, previously
        dishonored remittances or additional disbursements made by this Note Holder between the date of this statement and the actual receipt of funds.




                                                                                                                                                            Exhibit F
                                                                                                                                                          Page 1 of 5
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widnerconsulting@gmail.com

From:                              Tammy Heberlein <Tammy@easterdayfarms.com>
Sent:                              Tuesday, March 23, 2021 2:14 PM
To:                                Michelle Green; widnerconsulting@gmail.com; Jody Easterday
Subject:                           RE: Rabo AgriFinance Rural - Main Payment Scheduled


Ok, here is rloc. I think we should be good,


     Payment Amount*

      el Amount Due                                                                       $807,612.72
           Principal                                                                                         WO,(loose°
                                                                                            $801,069.07       1,044.O-
           Interest                                                                              $6,543.65


           Pay Additional Principal


           Pay Additional Accrued Interest
                                                                                                              zs- 3o1 2g-
                                                                                                              zeitsadae,
                                                                                            25,104.17



           Pay Fees

                                                                                                8,001.46+- 7,67 • 110 410




                                                       Total Payment:                 C$840,718.35

     Payment Date*                                                                                   ifzr. q3
                                                                                                      z92.12
             Due Date                                                                            4/1/2021


       0     Choose Date                                                                        3/23/2021

           3/23/2021




Have a great day,
Tammy Heberlein
Office Manager
Easterday Farms Produce Co.

                                                          1




                                                                                                                 Exhibit F
                                                                                                               Page 2 of 5
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                                                                                                                   RaboAgriFinance

                                                           Rabo AgriFinance
                                                    A member of the Rabobank Group
                                                PO Box 411995 - Saint Louis - MO - 63141
                                           Telephone (314) 317 8000 - Facsimile (877) 655 9514
                                                            www.RaboAg.com

        03/19/2021

        3E Properties
        C/O Mike Hayes
                                                                                   Obligation No        15475 - 3E Properties 9769




        Dear Client:

        The following statement is the amount required to repay the above loan as of 03/18/2021. Please note that
        interest accrues until funds are received in our National Servicing Center.

                       Principal Balance                         as of 03/18/2021                                       $437,990.25
                       Interest on Principal                     to 03/18/2021                                             $4,440.66
                       Legal Fees                                                                                           $363.43
                       Interest on Legal Fees
                       Prepayment Fee
                                                                                                                              $3.14'
                                                                                                                         $33,832,07
                                                                                                                                             kW.
                       Default Interest                                                                                  $11,943,60
                       Total Due                                                                                        $488,573.15

                                                                                                                                       4 4 days)* "ion—
                       Per Diem for receipt of funds after 03/18/2021 is $180.45. These repayment figures will not be
                       valid after 03/25/2021. The agreement requires a Treasury Rate lookback 5 days prior to payoff.           72/.So
                                                                                                                             frz Oren,      s
        The documents will be available for delivery following receipt of certified funds. There will be a delay in forwarding
                                                                                                                                 71 $7/ • Vis
        documents for other than certified funds.

        Questions regarding the repayment of your loan should be directed to Customer Connect toll free at (855) 722-7766 or / 4                              Stto 41
        at CustomerConnect©RaboAg.com.

        Please return your payment with a copy of this letter. To ensure timely delivery of funds, we suggest wired funds.
        Please contact your Relationship Manager, listed above for instructions. Checks should be mailed to Rabo AgriFinance,
        PO Box 790077, St Louis, MO 63179-0077.

                                                                 Sincerely,

                                                                     fiGfit

                                                                 Rabo AgriFinance
                                                                 National Servicing Center




                                                                          ""IMPORTANT***
            These figures are subject to final verification upon actual receipt of funds by the Note Holder. Note Holder reserves the right to adjust these
         figures and (a) negotiate funds as received and request additional funds, (b) refund excess funds remitted or (c) refuse funds as appropriate to
           the circumstances thereof. These circumstances may be, but are not limited to, an error in the calculation of the payment amount, previously
        dishonored remittances or additional disbursements made by this Note Holder between the date of this statement and the actual receipt of funds.




                                                                                                                                                            Exhibit F
                                                                                                                                                          Page 3 of 5
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widnerconsulting@gmail.com

From:                            Tammy Heberlein <Tammy@easterdayfarms.com>
Sent:                            Tuesday, March 23, 2021 3:08 PM
To:                              widnerconsulting@gmail.com
Subject:                         FW: Rabo AgriFinance Rural - Main Payment Scheduled




Have a great day,
Tammy Heberlein
Office Manager
Easterday Farms Produce Co
O: 509.544.9595


From: Rabo AgriFinance Rural - Main <RaboAgriFinance@billerpayments.com>
Sent: 03/23/2021 3:07 PM
To: Tammy Heberlein <Tammy@easterdayfarms.com>
Subject: Rabo AgriFinance Rural - Main Payment Scheduled


Dear TAMMY HEBERLEIN,

This email is to confirm a payment received on 03/23/2021 through Online Payment Processing for your Rabo
AgriFinance Rural - Main loan obligation number ending XXXX5475.

A one-time payment of $496806.41 has been scheduled with a date of 03/23/2021. The funding source that will be
debited for this payment is your account number ending XXXX6904.

Payment Details

Obligation Number:      5475

Principal Amount: 30900.35

Interest Amount: 5266.89

Fees Amount: 41706.96

Additional Principal Amount: 407089.9

Accrued Interest Amount: 11842.31

The unique confirmation number for this payment is ODVB5F6TN2.

We appreciate your business.Thank you for using Online Payment Processing at

www.raboa connect.com.


                                                         1



                                                                                                              Exhibit F
                                                                                                            Page 4 of 5
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 3/24/2021                                                           Current Day Account Activity Report



   BANK OF AMERICA --?;'%
                                              Transaction Details


                                     Date:    03/24/2021
                          Account Number:
                                  Bank ID:
                              Transaction:    Preauthorized ACH Debit (455)
                                Currency:     USD
                                  Amount:     840,718.35
                              Credit/Debit:   DEBIT
                           Customer Ref #:    000000000000
                          Bank Reference:     83009299996
                               Value Date:

                          Immediate Avail: 0.00
                             1 Day Float: 0.00
                             2 Day Float: 0.00
                                           Rabo AgriFinance DES:WEB PMT ID:110811923
                                    Text: INDN:Easterday Farms Produc CO ID:F581571529 WEB




https://cooinforeporting-proda.bankofamerica.com/inforeporting/CurrentDayReports.jsf                                            1/1



                                                                                                                          Exhibit F
                                                                                                                        Page 5 of 5
